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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
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 9   Ronald H. Pratte,                               No. CV-19-00239-PHX-GMS
10                    Plaintiff,                     ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                    Defendants.
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16         Pending before the Court is the parties’ Joint Status Report and Proposed

17   Scheduling Dates (Doc. 43) to amend the April 12, 2019 Case Management Order (Doc.
18   14) as modified by the Court’s Orders (Docs. 29, 37, 39, 42). Accordingly,

19         IT IS HEREBY ORDERED granting the parties’ Joint Status Report and Proposed

20   Scheduling Dates (Doc. 43). The deadlines set forth in the April 12, 2019 Case
21   Management Order (Doc. 14), as modified by the Court’s October 8, 2019 Order (Doc.
22   29), January 27, 2020 Order (Doc. 37), February 24, 2020 Order (Doc. 39), and March 20,

23   2020 Order (Doc. 42) amending certain deadlines, are further modified as follows:

24         1.     The deadline for final supplementation of MIDP responses and the

25   completion of fact discovery, including discovery by subpoena, shall be no later than

26   July 17, 2020.
27         2.     Plaintiff shall provide full and complete expert disclosures no later than
28   July 24, 2020.
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 1           3.    Defendants shall provide full and complete expert disclosures no later than
 2   August 7, 2020.
 3           4.    Rebuttal expert disclosures, if any, shall be made no later than September 4,
 4   2020.
 5           5.    Expert depositions shall be completed no later than October 16, 2020.
 6           6.    Dispositive motions shall be filed no later than November 13, 2020.
 7           7.    The parties shall file their respective two-page letters regarding any
 8   anticipated dispositive motions no later than September 16, 2020 and shall contact the
 9   Court the same day to schedule a time for a pre-motion conference.
10           Dated this 27th day of April, 2020.
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